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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Marci Marie Webber, )
)
)
Petitioner, ) Case No.: 20 cv 7807
)
) Judge Norgle
v. )
)
State of Illinois et.al, )
)
Respondents. )

MOTION TO WITHDRAW AS COUNSEL

Now comes Daniel Francis Gallagher before the court as appointed counsel for the plaintiff,
Marci Webber, in the above captioned cases and states as follows:

1)
2)

3)

4)

Counsel was duly appointed in both of these cases in February, 2021.

After reviewing the pleadings filed by the pro se plaintiff and investigating the facts of
the matter, counsel determined that it might be more beneficial to plaintiff to proceed in
state court in litigation already pending than to attempt to proceed in federal court.

Counsel also determined that the relief plaintiff was seeking in the case against the State
of Illinois and others could not be achieved and this court would not have jurisdiction
because it seeks review of state court actions and judgments. The Rooker-Feldman
doctrine precludes the lower federal courts from reviewing state court judgments. Swartz
v. Heartland Equine Rescue, 940 F.3d 387, 390 (7th Cir. 2019).

As to the petition for a writ of habeas corpus, Counsel discovered that plaintiff had not
exhausted her state court remedies and, indeed, had a case pending in the Second
Appellate district in the State of Illinois. After a considerable delay, the Illinois Appellate
Court ruled in favor of the State and against plaintiff, (a copy of the appellate opinion is
attached). Counsel is informed and believes that the plaintiff has filed a petition for leave
to appeal that decision to the Illinois Supreme Court through different counsel.
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5) Finally, counsel has received two emails directing counsel not to proceed further on her
behalf. Copies of the emails are attached.

Wherefore, Daniel Francis Gallagher, respectfully moves the Court for leave to withdraw
as counsel for the plaintiff in each of the cases in which he was assigned.

/s/ Daniel F. Gallagher
Daniel F, Gallagher
